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                                                                    U. S. DISTRICT COUR'^
                                                                    Southern District of GA
                                                                         Filed In Office
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              IN THE UNITED STATES DISTRICT COURT FOR                             M
                                                                                  |   T 201 ^
                    THE SOUTHERN DISTRICT OF GEORGIA
                               SAVANNAH DIVISION                          Deputy Clerk

UNITED STATES OF AMERICA


V.                                                     CASE NO. CR413-007


LEONARD ANTHONY KENNEDY,


         Defendant.




                                      ORDER


         Before    the    Court     is   Defendant's        Motion        Requesting     a

Judicial     Recommendation           Concerning         Length      of    Residential

Re-entry      Center       Placement.          {Doc.   910.)        In    his     motion,

Defendant         requests     this      Court     recommend         to    the     United

States Bureau of Prisons (^"BOP") that it place Defendant in

a residential re-entry center for the last twelve months of

his sentence. (Id. at 2.) The Government has responded in

opposition to Defendant's motion. (Doc. 911.)

         Defendant       references       18    U.S.C.    §       3621(B)(4)      in    his

request.     (Doc.       910   at   3.)    18     U.S.C. § 3621(B)              makes    it

clear that the BOP has the authority to designate the place

of   a    prisoner's       imprisonment.          Thus,       while       the    BOP    may

consider     any     statement        by    the    sentencing            court,    "[a]ny

order,     recommendation,          or     request     by     a    sentencing       court

that a convicted person serve a term of imprisonment in a
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